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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                           SOUTHERN DIVISION

THOMAS LEE CAMERON                                                       PETITIONER

v.                                               CRIMINAL NO. 1:12CR59-LG-RHW
                                                        CIVIL NO. 1:15CV181-LG

UNITED STATES OF AMERICA                                                 RESPONDENT

                        CERTIFICATE OF APPEALABILITY

       A final order adverse to the applicant having been filed in the captioned habeas
corpus case, in which the detention complained of arises out of process issued by a state
court or a proceeding pursuant to 28 U.S.C. § 2255, the court, considering the record
in the case and the requirements of 28 U.S.C. § 2253, Rule 22(b) of the Federal Rules
of Appellate Procedure, and Rule 11(a) of the Rules Governing Section 2254 and 2255
Cases in the United States District Courts, hereby finds that:

        X A Certificate of Appealability should not issue. The applicant has failed
       to make a substantial showing of the denial of a constitutional right.

            A Certificate of Appealability should issue for the following specific
issue(s):

       SO ORDERED AND ADJUDGED this the 12th day of August, 2015.


                                                 s/   Louis Guirola, Jr.
                                                 LOUIS GUIROLA, JR.
                                                 CHIEF U.S. DISTRICT JUDGE
